Case 2:05-CV-02353-.]DB-STA Document 11 Filed 07/06/05 Page 1 of 2__ Page|D 9' -

 

IN 'I`HE UNITED STATES ])ISTRICT COURT
FOR THE WESTERN ])ISTRICT OF TENNESSEE

WESTERN DIVISION 05 JUL '5 "PH ’3= lag l j
THOMNSM
U..ERK U..S 95 COURT

SECURITY FIRE PROTECTION

`.-~- _,

WJUU»`»; ¥r:iPZ“HS
Plaimiff, "`

v. NO. 05-2353 B/An

ROBERT S. RUSSELL and

)
)
)
)
)
)
)
SOUTHERN FIRE & SECURITY, INC., )
)
)

Defendants.

 

ORDER GRANTING DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSI()N OF
TIME TO RESPOND TO COMPLAINT

 

Before the Court is Defendants Robert S. Russell and Southern Fire & Security, Inc.’s
(“Defendants”) Unopposed Motion for Extension of Time to Respond to Cornplaint. ` F or good
cause shown the motion is GRANTED. Defendants shall have until July 20, 2005 to respond to

the Complaint.

IT ls so 0R1)ERED this 564 day of S-L_J§g} , 2005.

CSWMCJ@.J

JUDGE S. THOMAS ANDERSON
UNITED STATES MAGIS'I`RATE JUDGE

'S,ATES DISTRICT OURT - WESTR"DTEISRIC OF TNNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 11 in
case 2:05-CV-02353 Was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

 

 

Reagan F. Goins

ALLEN SUMMERS SIMPSON LILLIE & GRESHAl\/l7 PLLC
80 Monroe Ave.

Ste. 650

Memphis7 TN 38103--246

J ames B. Summers

ALLEN SUMMERS SIMPSON LILLIE & GRESHAl\/l7 PLLC
80 Monroe Ave.

Ste. 650

Memphis7 TN 38103--246

Thomas L. Henderson

LEWIS FISHER HENDERSON & CLAXTON, LLP
6410 Poplar Ave.

Ste. 300

Memphis7 TN 38119

Kristy L. Gunn

LEWIS FISHER HENDERSON CLAXTON & MULROY
6410 Poplar Ave.

Ste. 300

Memphis7 TN 38119

Honorable J. Breen
US DISTRICT COURT

